                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                        CIVIL ACTION NO. 5:24-cv-00003

   STARSAIL ADVENTURES, LLC; and
   CAROLINA DESTINATIONS, LLC;
   and AVANTSTAY SOUTHEAST,
   LLC,
                                                    PLAINTIFFS’REPLY
                  Plaintiffs,                         MEMORANDUM
                                               IN RESPONSE TO DEFENDANT’S
   vs.                                           RESPONSE TO PLAINTIFFS’
                                                 MOTION FOR PRELIMINARY
   IREDELL COUNTY,                                     INJUNCTION

                  Defendant.


                                      OVERVIEW

         Plaintiffs seek an Order nullifying Iredell County’s Short Term Rental

(“STR”) Ordinance which it had adopted on October 17, 2023 to go into effect on

January 1, 2024 and seeking damages for Inverse Condemnation to the extent that

the STR Ordinance was a “taking” of Plaintiffs’ land.

         Pending final Orders, Plaintiffs sought and are seeking to enjoin the

enforcement of the STR Ordinance.

                                PROCEDURAL POSTURE

         On December 22, 2023 at 10:21 AM, Plaintiffs filed this action in Iredell

County Superior Court File No. 23 CVS 3412 contesting Iredell County’s STR

Ordinance.

         The previous day, December 21, 2023, a parallel suit contesting Iredell




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County’s Short Term Rental Ordinance was filed against Iredell County in Iredell

County Superior Court contesting Iredell County’s STR Ordinance in Lawrence v.

Iredell County, File No. 23 CVS 3407 (True Copy of Verified Complaint attached

hereto Exhibit A)(hereinafter, “Lawrence”).

      Both State Court cases were both docketed to be heard at 11 AM on

December 22, 2023 on the private parties’ prayer for a Preliminary Injunction to

enjoin Iredell County’s enforcement of the STR Ordinance.

      Following the opening of Court, the Plaintiffs in both cases along with Iredell

County as Defendant in both cases entered into a “Memorandum of

Judgment/Order” filed at 11:45 AM on December 22, 2023 which was captioned

with both Lawrence and Plaintiff Starsail as the named Plaintiffs under both

Iredell County File numbers 23 CVS 3412 and 3407 (Document 1-4).

      The Memorandum of Judgment/Order set the matter on for hearing during

the January 2, 2024 term of Superior Court and stated that in both cases “The

County shall not seek enforcement of the 10-17-23 STR Ordinance pending that

preliminary injunction.” (Document 1-4).

      The Preliminary Injunction hearing was set during the January 2, 2024 term

of Superior Court to be heard on January 5, 2024.

      On January 4, 2024, Iredell County informed Plaintiffs that it had filed a

Removal of the above captioned matter to Federal Court.

      On January 5, 2024, Hon. Tonia A. Cutchin, Judge of the Superior Court,

heard the Preliminary Injunction Motion in Lawrence including live testimony from




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the Plaintiff, Grant Lawrence who was cross examined by the attorney for Iredell

County. Following the hearing of evidence, consideration of Briefs by both sides,

and arguments of counsel for both sides, Judge Cutchin enjoined Iredell County

from enforcing the STR Ordinance against “all short term rentals” in Iredell

County. The Order has not been signed by Judge Cutchin, but a copy of the

Transcript of the Lawrence Order as announced in open Court on January 5, 2024 is

attached hereto as Exhibit B.

      On January 8, 2024, the Court in the case at bar “the State Court’s

prohibition on enforcement of the Zoning Ordinance continues pending resolution of

the PI motion.” (Doc. 7).

                    ADDITIONAL FACTUAL BACKGROUND

      In addition to the Facts presented in the Removed File, Plaintiff obtained

affidavits from Plaintiff AvantStay Southeast, LLC by its General Counsel (Exhibit

C) and from Plaintiff Carolina Destinations by its Broker in Charge (Exhibit D)

which were not made a part of the State Court file presented to the Federal Court

because they were obtained after the Notice of Removal was announced to Plaintiffs

– for that reason, the affidavits were referenced in Plaintiffs’ State Court Brief but

could not be filed due to the Notice of Removal.

      As a broker in charge, Miller through his Plaintiff company, Carolina

Destinations, is a property manager are regulated by the North Carolina Real

Estate Commission, a fact that was also found by Judge Cutchin in the Lawrence

State Court Preliminary Injunction; violation of Iredell County Ordinances by a




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regulated real estate broker such as Plaintiff would subject the violating broker to

sanctions by the North Carolina Real Estate Commission.

      Owners of the STR properties managed by both Carolina Destinations and

AvantStay expended vast amounts of money upfitting their houses to be used for

STRs, depending on the lack of zoning or other regulation by Iredell County in doing

so. In addition, many of the managed properties had reservations made far in

advance of January 1, 2024 and, in fact made prior to the October, 2023 adoption of

the STR Ordinance by Iredell County. The total of reservations logged by

AvantStay was $1.7 million as of the date of the affidavit. This is backed up by the

verified Complaint of Lawrence (Exhibit A).

      The affidavits, along with the Lawrence verified Complaint, assert and

establish for purposes of a Preliminary Injunction, that the restrictions placed on

STRs by the STR Ordinance would significantly reduce the marketability of STRs

under their ownership or management with incalculable impact as to resale value

or rental value or both.

      None of the properties managed by Plaintiffs have had verified violations

during a 12 month time period or are within the top ten percent (10%) of properties

with crime or disorder problems by law enforcement.

      Iredell County, presumably in response to the Cutchin State Court Order in

Lawrence, has posted on its Planning and Zoning Department website that “the

County has been ordered to cease enforcement of its zoning regulations pertaining

to short-term vacation rentals pending final adjunction [sic] of the matter.” (Exhibit




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E).

       While the County employee’s affidavit asserts various complaints from the

citizenry at large, no evidence was presented that any of the Plaintiffs or properties

that they manage in either the instant case or Lawrence were the targets of public

complaints regarding “large parties, an excessive number of guests for a particular

dwelling, lack of parking for neighboring property owners, and the inability of

neighboring property owners to contact someone other than law enforcement to

remedy the problems.” In fact, the County affidavit lauds Plaintiffs as barring large

events, barring on-site parties, and otherwise being good managers of their STRs.

                ARGUMENT AND CITATION TO AUTHORITY

       County is Collaterally Estopped from Defending Ordinance pending

Adjudication of the State Court Case. Iredell County is collaterally estopped

from getting a “second bite at the apple” by removing the case at bar from the State

Court which subsequently enjoined the County from enforcing the STR Ordinance

pending adjudication of the Lawrence case.

       The Court may examine the issues raised in Lawrence to determine if there

is adequate factual overlap to find that the order against Iredell County collaterally

estops it from pursuing the case at bar in a separate Federal action.

       The terms of the Court’s announced Preliminary Injunction in Lawrence,

though leave little doubt: Judge Cutchin enjoined Iredell County from enforcing the

STR Ordinance against “all short term rentals” in Iredell County which would

include those owned or managed by Plaintiffs in the current case.




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      "The companion doctrines of res judicata and collateral estoppel have been

developed by the courts … to serve the present-day dual purpose of protecting

litigants from the burden of relitigating previously decided matters and of

promoting judicial economy by preventing needless litigation." Thomas M. McInnis

& Assocs., Inc. v. Hall, 318 N.C. 421, 427, 349 S.E.2d 552, 556 (1986). In particular,

collateral estoppel "'is designed to prevent repetitious lawsuits over matters which

have once been decided and which have remained substantially static, factually and

legally.'" King v. Grindstaff, 284 N.C. 348, 356, 200 S.E.2d 799, 805

(1973) (quoting Comm'r v. Sunnen, 333 U.S. 591, 599, 68 S. Ct. 715, 92 L. Ed. 898,

(1948)). "'[W]hen a fact has been agreed upon or decided in a court of record, neither

of the parties shall be allowed to call it in question, and have it tried over again at

any time thereafter, so long as the judgment or decree stands unreversed.'" Id. at

355, 200 S.E.2d at 804(quoting Masters v. Dunstan, 256 N.C. 520, 523-24, 124

S.E.2d 574, 576 (1962)); see also State v. Summers, 351 N.C. 620, 622, 528 S.E.2d

17, 20 (2000) (citing this principle specific [***6] to collateral estoppel). "[U]nder

the doctrine of collateral estoppel, when an issue has been fully litigated and

decided, it cannot be contested again between the same parties, even if the first

adjudication is conducted in federal court and the second in state court." McCallum

v. N.C. Co-op. Extension Serv., 142 N.C. App. 48, 52, 542 S.E.2d 227, 231

(2001) (citing King, 284 N.C. at 359, 200 S.E.2d at 807)). First Recovery, LLC v.

Unlimited Rec-Rep, LLC, 287 N.C. App. 620, 884 S.E.2d 172 (2023).

      There is no indication of an appeal being filed by Iredell County and its




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website posting strongly suggests that it is prepared to wait for adjudication in the

Lawrence case.

         Plaintiffs are entitled to a Preliminary Injunction against the

enforcement of the STR Ordinance. Ignoring the principles of collateral

estoppel and the State Court’s ruling in Lawrence,

         Plaintiffs aver that, as found by the State Court in Lawrence, “that (1) they

are likely to succeed on the merits, (2) they are likely to suffer irreparable harm, (3)

the balance of hardships tips in their favor, and (4) the injunction is in the public

interest.” Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013)” to quote Defendant’s

Brief.

         Likelihood of Success. Without restating the assertions in Plaintiffs’ Brief,

the STR Ordinance violates recodified re-codified N.C. Gen. Stat. § 160(A)-424(c) as

N.C. Gen. Stat. § 160(D)-1207(c) on the face of the statute and under the

interpretation of it by Schroeder v. City of Wilmington, 282 N.C. App. 558 (2022)(“

Schroeder”). Under Schroeder, whether the ordinance is couched in terms of a

“permit” or a “registration” or as a zoning ordinance, building code provision or any

other nomenclature, in the absence of the statutory exceptions to the general rule

(criminal activity, repeat violations), registrations and permitting are impermissible

under Statue and the County, as a political subdivision of the State, is governed by

Statute.

         The ”vested rights” aspect is addressed in Plaintiffs’ initial brief. The

affidavits submitted herewith show (which the County knew of through the




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Lawrence verified Complaint and testimony) that property owners made substantial

investments in reliance on their ability to rent out STRs.

      If either the theories of “vested rights” or violation of N.C. Gen. Stat. §

160(D)-1207(c) stand, as they did in the State Court Lawrence Order, then the

Court does not need to reach any of the constitutional issues or issues regarding

inverse condemnation raised in the absence of any evidence that the adoption of the

ordinance itself devalued STR properties – Plaintiffs reserve the right to submit

proof of such at the appropriate time.

      Irreparable harm. The diminution of value due to the inability to rent to

larger groups is essentially incalculable. Without an inventory of actual rentals to

determine the number of persons who would actually occupy the rented STR, the

cash flow loss is difficult to establish – although it could be done with a thorough

evaluation of every member of the Class, were a Court to certify class in this

matter.

      However, the irreparable harm is not limited to “mere” monetary damages: if

a short term rental manager manages who is regulated by the NC Real Estate

Commission as all property managers are, property that has not been properly

registered or permitted, then such property manager including Plaintiffs, risks

violating the STR Ordinance with resulting sanctions by the NC Real Estate

Commission or potential liability in the event that someone is harmed by an STR

tenant in an “over-loaded” STR.

      Because of the failure of the County to adopt the exclusions of the State




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Statute as to exemptions as set out in the Plaintiffs’ initial Brief such as exempting

primary residences, the STR statute applies to any apartment with month-to-month

leases – a Class of literally thousands in Iredell County. As an example, if a large

apartment complex allows just one of its apartments to be leased on a month to

month basis, particularly if such rental was to a “short term” tenant who was in

Iredell for business purposes and maintained a residence somewhere else, then

under the Iredell STR, the entire complex would have to register – and then would

probably be out of compliance with the Ordinance on its face for having multiple

STRs on the same premises.

      Balance of hardships. Again, ignoring Iredell County being collaterally

estopped from relitigating the Lawrence case and its injunction against enforcement

of the STR Ordinance, the balancing called for in caselaw shows that there are an

unknown number of complaints about large parties, parking issues, etc. arising out

of isolated STR rentals.

      On the other hand, just the three Plaintiffs, out of potentially hundreds if not

thousands (especially if the permanent residence exemption is not honored) show

dozens of properties where the damage from the ordinance would be severe – as well

as the potential for errors and omissions and sanctionable actions being

inadvertently engaged in by innocent real estate brokers. Here is yet another

example: frequently in residential closings where there is a downstream or

upstream delay in a collateral closing or financing, real estate brokers will negotiate

a lease to bridge the gap – a bridge that typically is for much less than 90 days (the




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STR definition). Because there are no primary residence exemptions, the real

estate broker may have to advise their Seller to register the property under the STR

ordinance; failing such the real estate broker may be subject to liability or NC Real

Estate Commission sanction.

      Enjoining Iredell County during the pendency of the Lawrence and instant

actions places little to no burden on Iredell County. Irate neighbors can (and

should) call law enforcement regarding noisy, drunken and boisterous STR tenants

– the Ordinance really does not address anything that is not currently addressed by

existing noise ordinances.

      Public interest. The public is not limited to the squeaky wheels that are able

to get the attention of elected County Commissioners. As set forth in the Plaintiffs’

Brief, the public also includes those folks who would like access to Lake Norman

which is regulated by Duke Energy under the FERC authorization to provide for

recreational use of Lake Norman. Like ocean-front property, Lake Norman land, as

can be seen by the affidavit setting out the $1,7 million in rentals for a fairly small

collection of STRs, has gotten so expensive that the only way the generally public

can enjoy a weekend on the Lake is a short term rental. And the only way the nicer

homes can be rented is if families go in together for the rental amounts.

      Severance. As the various sets of Minutes show, Iredell County’s

Commissioners were advised that the entire ordinance might not stand. Could

Iredell County rescind all or part of its STR ordinance and start afresh? That is a

political question. Can the Courts? That would be a legal question and, unlike in




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Schroeder, the governing authority did not provide an internal severance clause.

      Subject Matter Jurisdiction. While not stated as an “Alternative Claim”,

the inverse condemnation claim under the United States Constitution is called into

play only if the State Constitutional inverse condemnation claim fails. Plaintiffs’

Brief sets forth the ample Constitutional and caselaw grounds for inverse

condemnation under North Carolina law and its Constitution.

      The U.S Supreme Court in Grable & Sons Metal Prods. v. Darue Eng'g &

Mfg., 545 U.S. 308, 125 S. Ct. 2363 (2005)(“Grable”) addressed the issue of when a

“federal question” between non-diverse parties: “It has in fact become a constant

refrain in such cases that federal jurisdiction demands not only a contested federal

issue, but a substantial one, indicating a serious federal interest in claiming the

advantages thought to be inherent in a federal forum.” Grable at 313.

      Grable goes on to say that “But even when the state action discloses a

contested and substantial federal question, the exercise of federal jurisdiction is

subject to a possible veto. For the federal issue will ultimately qualify for a federal

forum only if federal jurisdiction is consistent with congressional judgment about

the sound division of labor between state and federal courts governing the

application of [28 U.S. Code §] 1331.“ Grable at 314.

      The court, upon a Motion to Remand, may choose to remand some of the

Claims and then stay the federal proceedings on the “removed” claims pending

resolution of the remanded State Court claims. Such an approach might be a good

one if the Court was not inclined to determine the absence of a “substantial” Federal




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Claim given that the federal constitutional claims will probably not be reached due

to their being case and Constitutional support for any inverse condemnation claims

to be wholly addressed under North Carolina law in her own State Courts.

                                  CONCLUSION

      Plaintiffs pray the Court to find that Iredell County is collaterally estopped

from relitigating this matter in an action separate from the Lawrence Court’s State

Court Order and, if such Order does not bar re-litigation, enjoin Iredell County

during the pendency of this matter from enforcing the STR Ordinance.

      This the 29th day of January, 2024.


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                        CERTIFICATE OF PAGE LIMIT
       The undersigned hereby certifies that the foregoing memorandum of law
 contains less than twelve (12) pages.
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